                                         Case 2:12-cv-00428-DDP-MRW Document 280 Filed 09/19/23 Page 1 of 1 Page ID #:5990
    UNITED STATES DISTRICT COURT                                                                                  TRANSCRIPT ORDER FORM                                                                          COURT USE ONLY
                                                                                         Please use one form per court reporter per case, and contact court reporter                                                DUE DATE:
   CENTRAL DISTRICT OF CALIFORNIA                                                     directly immediately after e-filing form. (Additional instructions on next page.)

   la. Contact Person                                                                            2a. Contact Phone                                                      3a. Contact E-mail
                                                                                                                                                                                           lc rossi @kbkfi rm .com
       for this Order lc a rla K. Rossi                                                              Number        13 10.272.7909                                           Address
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   lb. Attorney Name
       (if different)
                          I
                      : Robe rt E. Dugda le
                                                                                                 26. Attorney Phone 1
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                                                                                                                     3 10556 2700                                       36. Attorney E-mail I d d I @kbkf
                                                                                                                                                                            Address          r ug a e    irm .com
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  4. MAILING ADDRESS (INCLUDE LAW FIRM NAME, IF APPLICABLE)
  KENDALL BRILL & KELLY LLP
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  10100 Santa Monica Blvd., Suite 1725
  Los Angeles, CA 90067                                                                                            6. CaseName                 I
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 8. INDICATE WHETHER PROCEEDING WAS (choose only one per form) :

                D DIGITALLYRECORDED                           D TRANSCRIBED BY ACOURTREPORTER;NAMEOFCOURTREPORTER: I~M_a_r_ia_B_u_st_ill_o_s _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _~
 9. THISTRANSCRIPTORDERISFOR:                    0 Appeal [gj Non-Appeal                               D Criminal [g] Civil                              D CJA D USA D FPD D In forma pauperis (Court order for transcripts must be attached)
                                                                                                                                                                                      You MUST check the docket to see if the transcript has already been filed, and if so,
 10. TRANSCRIPT(S) REQUESTED (Specify portion(s) and date(s) of proceeding(s) for which transcript is requested, format(s), and delivery type):                                            provide the "Release of Transcript Restriction " date in column c, below.
  a. HEARING(S) OR PORTIONS OF HEARINGS (Attach additional pages if necessary. If sealed, a court                                                                        (CM!ECF access included             c. RELEASE OF TRANS.
                                                                                                                                     b. SELECT FORMAT(S)                                                                                  d.        DELIVERY TYPE
  order releasing transcript to the ordering party must be attached here or emailed to                                                                                  with purchase of transcript.)          RESTRICTION DATE           30-day, 14-day, 7-day, 3-day, Daily, Hourly
  transcrivts cacd@cacd.uscourts.1/'0V.)
    HEARING        Minute Order
                    Docket#          JUDGE
                                                               PROCEEDING TYPE I PORTION
                                                     If requesting less than full h earing, specify portion (e.g., witness or time).
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     DATE         (if available)     (name)                                                                                          (email)                                             INDEXING
                                                    JA orders: indicate if openings, closings, voir dire, or instructions requested.           (email)                  (email)    (web)                      certify none yet on file. )   sooner than "Ordinary-JO. '1
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 11. ADDITIONAL COMMENTS, INSTRUCTIONS, QUESTIONS, ETC. CJA Orders: Explain necessity of non-appeal orders, orders for transcripts ofproceedings involving only a co-defendant, & special authorizations to be
 requested in Section 14 ofCJA-24 Voucher (attach additional paJ[es if needed).




 12. ORDER & CERTIFICATION. By signing below, I certify that I will pay all charges (deposit plus additional), or, where applicable, promptly take all necessary steps to secure
 payment under the Criminal Justice Act.
                                                                                             Date
                                                                                                        ISeptemb er 19, 2023                                   I Signature Is; Ro b e rt E. Dug d a Ie
G-120(06/18)                                                                                                                                                   .                    ~----------------------~
